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                                                                                      July 20, 2022

                                                                                CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                       WESTERN DISTRICT OF TEXAS
                               WESTERN DISTRICT OF TEXAS                            By:        SAJ
                                                                                                     Deputy
                                         DEL Rio
                                         Del RIO DIVISION
                                                                        DR:22-CR-01631-AM
UNITED STATES OF AMERICA                         §    Cause No.:
                                                 §
                                                 §    INDICTMENT
v.                                               § Illegal Re-entry into the United States
                                                 §
                                                 §
JOSE ODILON GUTIERREZ-GARCIA                     §
     JOSE ODILION GUTIERREZ-GARCIA               §




THE GRAND JURY CHARGES:

                                          COUNT ONE
                                 [8 U.S.C. § 1326(a) & (b)(1)/(2)]

                                                                           Defendant,

     JOSE ODILON GUTIERREZ-GARCIA A/K/A JOSE ODILION GUTIERREZ-GARCIA,

an alien, attempted to enter, entered, and was found in the United States having previously been

denied admission, excluded, deported and removed from the United States on or about June 12,

2018, and that the Defendant had not received the consent of the Attorney General of the United

States and the Secretary of the Department of Homeland Security, to reapply for admission to the

United States, in violation of Title 8, United States Code, Section 1326(a) and (b)(1)/(2).

                                                      A TRUE BILL.
                                                        ERevol- Usceh


                                                      FOREPERSON

ASHLEY C. HOFF
United States Attorney

By:
      T. Paul Markovits
      Assistant United States Attorney
